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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


CHRISTINA CHARLES,                                      Civil Action No. 20-cv-________


                                     Plaintiff,

       -against-

FAMILY DOLLAR,

                                     Defendant(s)



                                   NOTICE OF REMOVAL


               PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§1332(a), 1441(b), and

1446, Defendant Family Dollar Stores of New York, Inc. (“Family Dollar” or “Defendant”),

improperly sued herein as “Family Dollar” removes this civil action from the Bronx County

Supreme Court in New York because Plaintiff and Defendant are diverse and the amount in

controversy exceeds the jurisdictional minimum. As a short and plain statement of the grounds

for removal, Defendant states the following:

                                   PLAINTIFF’S CLAIMS


       1.      Plaintiff commenced this action in the Bronx County Supreme Court on March 3,

2020, by filing a Summons and Complaint, a copy of which is attached as Exhibit A.

       2.      Plaintiff served the Summons and Complaint on Defendant via the New York

Secretary of State on July 2, 2020. See Exhibit B.

       3.      Plaintiff alleges that on October 31, 2019 she was injured at the Family Dollar
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located at 13151 Boston Road, Bronx, New York due to Defendant’s negligence. See Exhibit A

at ¶¶ 9-17. On October 31, 2019, Family Dollar Stores of New York, Inc. operated a retail store

at 1315 Boston Road, Bronx, New York. It continues to operate that store today.

        4.      Plaintiff’s Complaint did not contain a sum certain of his damages. Rather she

alleged that her damages exceeded the jurisdictional limits of any other court. See Exhibit A at p.

4.

        5.      Defendant served its Answer on July 22, 2020, a copy of which is attached as

Exhibit C. With its Answer, Defendant served discovery demands upon Plaintiff, including a

Demand for a Bill of Particulars and a Demand for a Statement of Damages. See Exhibit C.

        6.      On or about September 29, 2020, Defendant received Plaintiff’s Response to the

Demand for a Bill of Particulars and a Response to Combined Demands. Plaintiff demanded

$4,000,000 in response to the Demand for a Statement of Damages. See Exhibit D.

        7.      Therefore, Plaintiff’s damages claims meet the amount in controversy.

                  DIVERSITY JURISDICTION UNDER 28 U.S.C. § 1332(a)


        8.      This Court has diversity jurisdiction over this action under 28 U.S.C. §1332(a),

which provides, in relevant part: “The district courts shall have original jurisdiction of all civil

actions where the matter in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs, and is between . . . citizens of different States . . .”

                                              CITIZENSHIP

        9.      Plaintiff is a resident of the County of Bronx, New York. See Exhibit A

1
 The Complaint lists the store address as 1345 Boston Road, Bronx, New York but the Verified
Bill of Particulars confirms the address a 1315 Boston Road, Bronx, New York. See Exhibit C at
Bill of Particulars, ¶ 3.




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(Summons and Complaint at ¶ 1).

       10.     Family Dollar is a Virginia corporation with a principal place of business in

Virginia. See Family Dollar’s registration details with the Commonwealth of Virginia’s State

Corporation Commission and its Entity Information filed with the New York State Department

of State, which are attached as Exhibit E.

       11.     Therefore, Plaintiff and Defendant are completely diverse.

                                   AMOUNT IN CONTROVERSY

       12.     Pursuant to 28 U.S.C. § 1446(b)(3), a defendant may remove an action within 30

days after receipt of “a copy of an amended pleading, motion, order or other paper from which it

may first be ascertained that the case is one which is or has become removable.”

       13.     On or about September 29, 2020, Defendant received Plaintiff’s Response to the

Demand for a Bill of Particulars and Response to Combined Demands. See Exhibit D. The

Response to Combined Demands includes a Response to a Demand for a Statement of Damages

wherein Plaintiff asserts a demand of $4,000,000.00. Id.

       14.     Therefore, this case has the necessary amount in controversy for removal.

  ALL PROCEDURAL REQUIREMENTS FOR REMOVAL HAVE BEEN SATISFIED

       15.     Defendant filed the instant Notice of Removal within 30 days after receipt of the

Plaintiff’s Response to Combined Demands. See 28 U.S.C. § 1446(b)(3).

       16.     The United States District Court for the Southern District of New York is the

proper venue for removal of this action because it is the district in which the state court action is

pending. See 28 U.S.C. §§ 1441(a) and 1446(a).

       17.     Pursuant to 28 U.S.C. § 1446(a) a true and correct copy of all of the process,

pleadings, and orders from the state court action which have been served upon Family Dollar are




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being filed with this Notice of Removal. See Exhibit F.

       18.     Notice of the filing of this Notice will be served on the adverse parties as required

by 28 U.S.C. § 1446(d).

       19.     A true and correct time stamped copy of this Notice will be filed with the

Supreme Court, Bronx County, as required by 28 U.S.C. § 1446(d).

                                         CONCLUSION

       20.     By this Notice of Removal, Defendant does not waive any objections it may have

as to service, jurisdiction or venue, or any other defenses or objections it may have to this action.

Defendant intends no admission of fact, law, or liability by this Notice of Removal, and

expressly reserve all defenses, motions and/or pleas.


Dated: New York, New York
       October 21, 2020


                                              Respectfully submitted,

                                              /s/ Gary N. Smith
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                                              Inc.




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